     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 1 of 27




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION


     MICHAEL BAZZREA, et al      §
                                 §
         Plaintiffs,             §
                                 §
     v.                          §      Case No. 3:22-cv-00265
                                 §
     LLOYD AUSTIN, III, et al.,  §
                                 §
         Defendants.             §
                        PLAINTIFFS’ REPLY BRIEF

                                      ARGUMENT

I.    DEFENDANTS’ EVIDENCE DOES NOT SUPPORT POLICY.

      Plaintiffs do not ask this Court to act as an epidemiologist or immunologist;

nor do Plaintiffs ask this Court to referee a battle of the experts because Defendants

have not provided any expert witness testimony. Plaintiffs simply ask that this

Court do what Courts do every day—make reasonable determinations on the

relevance of Defendants’ unsupported statements—and whether that evidence

actually supports their policies. These uncited studies cannot be verified by

Plaintiffs or the Court and cannot be considered as incorporated by reference.

      Defendants have provided no evidence that bears on the questions before

this Court that must be answered to adjudicate Plaintiffs’ claims. The relevant

questions for Plaintiffs’ claims, under either RFRA strict scrutiny review or more

deferential review for APA claims, are: what are the marginal risks and benefits,


                                             1
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 2 of 27




for both the service member and the military – in terms of readiness and other

asserted compelling interests – of the mandated two-dose regimen for largely

healthy, young service members under current circumstances… namely now, in

mid-2022, more than 2 years into the “Emergency,” with respect to the currently

prevalent Omicron sub-variants of Covid-19, when 98% of other service members

are fully vaccinated. The risks and benefits of the two-dose regimen must also be

compared with the protection provided by: (a) previous documented infections

(i.e., natural immunity); (b) alternative mitigation measures; (c) currently

available post-infection treatments such as Paxlovid, monoclonal antibodies, and

(d) vigorous exercise, an unquestionably beneficial and efficacious prophylaxis

that military service requires of its youthful cohort.

      All of the above information is readily available to the Defendants

Department of Defense (“DOD”), the U.S. Coast Guard (“USCG”), the Department

of Homeland Security (“DHS”), and the Food and Drug Administration (“FDA”).

The Defendants are unquestionably the governmental agencies “textually

committed to resolving … scientific debates” by bringing to bear the United States

governments’ unmatched “scientific, economic, and technological resources” in

military and medical matters. Navy SEAL 1 v. Austin, 2022 WL 1294486, at * 6

(D.D.C. Apr. 29, 2022) (“Navy SEAL 1”). Yet despite having the full resources of

the United States government and ready access to comprehensive health data for

service members, Defendants have deliberately chosen not to provide relevant

                                              2
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 3 of 27




data. Not only that, they have intentionally chosen to obfuscate and denigrate the

systems in place that could show if these shots are efficacious or not. Their choice

to both omit information and attack their own data and systems, and to selectively

ignore expert, mandatory guidance from the CDC reinforces Plaintiffs’ claims that

Defendants have acted in bad faith.1

      The table attached as Exhibit 1 demonstrates that the studies referenced by

Defendants suffers from one or more—and usually all—of the following defects:

      1. Historical data from the 2020 and 2021 pre-Omicron, pre-vaccine phase
         and does not address the present state of ‘the force’;2

      2. Analysis of general population, rather than for service-members;

      3. Does not disaggregate by age, weight, BMI, health or medical conditions;

      4. No citations to a study and cannot be verified or included in record;

      5. Includes or compares “boosters” to unvaccinated; and/or

      6. No comparison for natural immunity or non-“vaccine” treatments.

      Defendants do not attempt to quantify the relative benefits of vaccination

for the asserted compelling interest (i.e., readiness, unit cohesion, lives saved,




1See, e.g., ECF 17, ¶¶ 3-5. Whistleblowers showed data from the DoD’s own Defense Medical
Epidemiology Database (DMED) highlighting extraordinary rises in a whole cohort of injuries
far above baseline numbers for previous years that raise serious questions about adverse
events in military members, particularly involving young women of childbearing age.
2 Colonel Fin. Mgmt. Officer v. Austin, No. 8:22-CV-1275-SDM-TGW, 2022 WL 3643512, at
*16 (M.D. Fla. Aug. 18, 2022) (“CFMO”). Defendants state that 96 service members have died
from COVID but only two were “fully vaccinated.” Opp. at 3. But they do not identify when
these deaths occurred. Defendants do not tell us how many of these deaths were in 2020
before any vaccines were available, or how many were in 2021 before Mandate was adopted
or implemented.
                                                3
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 4 of 27




reductions in days lost from sickness, quarantine or hospitalization) compared to

non-vaccination, and completely ignores the immense costs from the loss of highly

trained and experienced service members. Defendants have the data and expertise

needed to make meaningful comparisons, but this Court cannot defer to

Defendants’ expertise or judgment where they have altogether refused to exercise

it, or if they have, refused to provide any relevant data demonstrating that they

have applied their vast expertise and resources to the specific problem at hand.

      Plaintiffs respectfully submit that the relevant, undisputed evidence that this

Court should consider are the following: First, no active-duty service member,

whether vaccinated or not, has died since November 2021 when the Omicron

variant became prevalent. See ECF 22-2, Rans Decl., at 12-13 & Table. Second, the

Defendants’ own data shows that the treatment for the virus has killed more service

members (119), see ECF 17, ¶ 5, than the virus itself (96). Opp. at 25. Third, the

Centers for Disease Control and Prevention (“CDC”) has determined that the

mandated two-dose regimen provides “minimal protection against infection and

transmission,” ECF 17-6, CDC Guidance, at 1, and recommends “no longer

differentiat[ing] based on vaccination status.” Id. at 3. Fourth, the FDA authorized

new “bivalent” vaccines because the licensed vaccines are not available or adequate

for treating Omicron, and the CDC will purchase the new “bivalent” vaccines for

both primary series and boosters going forward. See infra Section II.B.




                                            4
      Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 5 of 27




II.    THIS COURT HAS SUBJECT MATTER JURISDICTION

       A.     Plaintiffs’ Claims and Relief Sought Are Justiciable.

       Congress has “plenary authority” … ‘To make Rules for the Government and

Regulation of the land and naval Forces.’” Chappell v. Wallace, 462 U.S. 296, 301

(1982) (quoting U.S. CONST. ART. I, § 8, cl. 14). “By enacting RFRA, Congress

exercised this plenary authority to guarantee the ‘broad protection for religious

liberty.’” CFMO, 2022 WL 3643512, at *7 (quoting Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682, 706 (2014)). “To ensure comprehensive protection of Free

Exercise,” id., at *6, RFRA allows “[a] person whose religious exercise has been

burdened in violation of this section” to “assert that violation as a claim or defense

in a judicial proceeding and obtain appropriate relief against a government.” 42

U.S.C. § 2000bb-1(c).

       RFRA was enacted with “singularly bi-partisan support,” CFMO at *6, for

the express purpose of “restor[ing] … the protection for Free Exercise suddenly

eroded by the Supreme Court in” Employment Division v. Smith, 494 U.S. 872

(1990). CFMO, 2022 WL 3643512, at *6. As such, “RFRA warrants heightened and

focused attention and diligent compliance by the government, including the

military, and discerning enforcement by the courts.” Id. RFRA applies to “everyone

from the President to a park ranger, … from the Chairman of the Joint Chiefs of

Staff to a military recruiter.” Id., at *6.

       Plaintiffs’ claims and requested relief are not barred by the Supreme Court’s


                                              5
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 6 of 27




decision in Navy SEALs 1-26 v. Austin, 142 S.Ct. 1301 (2022). See Opp. at 18, 30.

The majority’s decision left intact the district court’s and the Fifth Circuit’s

determinations that RFRA claims largely identical to Plaintiffs were justiciable,

ripe, and met all requirements for granting a preliminary injunction. Instead, the

majority limited the scope of injunctive relief for Navy SEALs and Naval Special

Warfare operators, who are the sharpest tip of the spear (or rather trident) and

unquestionably the “elite of the elite of this country’s special operations forces.”

Navy SEAL 1, 2022 WL 1294486, at * 2. The Supreme Court was certainly aware

of the clandestine nature of that work, need for worldwide deployability at a

moment’s notice, and other uniquely demanding requirements for the Nation’s

special operations forces.3 These factors do not apply to the vast majority of

military specialties, including Coast Guard Plaintiffs, who are not special forces.4




3See, e.g., Navy SEAL 1, 2022 WL 1294486, at *6 (concluding that Navy SEAL’s claim would
“require the Court to review the missions to which Plaintiff has been assigned in the recent
past, the tactical particulars of those missions, and whether those tactical particulars are
reflective of future special-operations missions to which Plaintiff would be assigned in the
future. The tactical necessities of a particular mission are perhaps the epitome of ‘complex,
subtle, and professional decisions’ otherwise left to the Commander-in-Chief and their
subordinates.”)(citation omitted).
4 This “non-binding, shadow docket decision,” Navy SEAL 1, at *4, did not purport to go
beyond the facts of, or specific parties to, the case, much less to announce a broader “military
non-justiciability” doctrine articulated in Justice Kavanaugh’s “concurring” opinion, as
Defendants’ claim. See Opp. at 18 & 30. Justice Kavanaugh was only speaking for himself, as
no other Justice joined his opinion. In fact, his solo opinion appears to be a dissent because
it was contrary to the majority’s decision in concluding that “RFRA does not justify judicial
intrusion into military affairs in this case.” Austin, 142 S.Ct. at 1302 (Kavanaugh, J.,
Concurring). Justice Kavanaugh’s approach would have required dissolution of the injunction
in its entirety, rather than trimming it back around the edges.
                                                   6
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 7 of 27




      B.    Defendants Do Not Have Comirnaty, But Even If They Did,
            It Would Not Deprive Court of Jurisdiction.

      Defendant DOD claims to have obtained a limited quantity of FDA-licensed

and labeled Comirnaty more than nine months after the Comirnaty was licensed

and the DOD Mandate was announced. (Defendants do not claim to have any FDA-

licensed Spikevax.) Plaintiffs and counsel have attempted to verify that the DOD

has actually obtained the FDA-licensed product that is labeled in accordance with

the statutory and regulatory requirements and manufactured in accordance with

the applicable Biologics License Application (“BLA”).

      Military whistleblowers, including prospective Plaintiff USCG LT Chad

Coppin, have inspected the “Comirnaty-labeled” vials and lot numbers. The vials

available are not FDA-approved Comirnaty. Instead, they are Emergency Use

Authorization (“EUA”) products (from Lot FW1331, an EUA lot) that were not

manufactured in accordance with the BLA or at BLA-approved locations and

therefore are not the FDA-licensed product they purport to be. See Ex. 2, Aug. 18,

2022 Letter from Sen. Ron Johnson to DOD, FDA and CDC, at 1-2. The FDA has

not responded to Senator Johnson, but in related litigation, the FDA claims that

these lots were manufactured in Kalamazoo, Michigan. The attached declaration

of LT Coppin shows that Kalamazoo was not a BLA-approved location for this lot

at the time it was manufactured on January 28, 2022, nor when it was shipped in

April 2022, see Ex. 3, Coppin Decl., ¶¶ 5-8. The Defendants continue their policy

of offering what Defendant DOD and its lawyers believe they can argue are “good
                                           7
       Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 8 of 27




enough” substitutes – with no statutory bio-equivalency approvals or

determinations ever having been made – in lieu of an actual licensed product,

which remains legally unavailable by statutory declaration of Defendant FDA.5

        Even if Defendants had FDA-licensed Comirnaty, Defendants’ offer has no

impact on Plaintiffs’ claims or the jurisdiction of this Court as all Plaintiffs’ injuries

alleged in the Complaint – including the religious discrimination they’ve suffered

throughout the Coast Guard’s sham accommodation policy – occurred during the

period when the DOD unlawfully mandated EUA vaccines and Defendant DOD

and USCG have disciplined Plaintiffs (and discharged similarly-situated class

members) for refusal to take EUA vaccines.6 Further, there are not and never have

been sufficient quantities of Comirnaty for un- or partially-vaccinated members.7

        Accordingly, Defendants’ offer does not affect Plaintiffs’ standing because it



5 Itis Plaintiffs’ position that Defendant DOD cannot legally offer a legally unavailable vaccine
and if, in fact, a “licensed vaccine” is available, then the EUAs for other equivalent products
must terminate as a matter of law, under 21 USC §360bbb-3. The “unavailability” of
Comirnaty is the sole basis for FDA’s continued issuances and reissuances of EUAs for
unlicensed products to be used. Plaintiffs believe any military member offered Comirnaty has
a right to ask for summary judgment terminating the other EUAs.
6Plaintiffs have responded to Defendants’ offer to take “Comirnaty-labeled” product. See Ex.
4, DOJ Email Exchange.
7 The DOD claims to have received a total of 42,000 doses, which first become “available for
ordering” in May 2022. ECF 22-2, Rans Decl., ¶ 19. Defendants do not state how much, if any,
is currently available. Assuming the full amount is still available (42,000 doses), this is
sufficient for 21,000 service members. There are at least 25,000 unvaccinated service
members who filed RARs, see Compl., ¶ 61 & Table 1, and an additional 90,000 partially
vaccinated DOD personnel. See DOD, Coronavirus: DOD Response, DOD Vaccination Data
(Table), available at: https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/
(last visited Sept., 4, 2022). The existing supply is sufficient for 25-30% of this number,
meaning that up to 75% would be required to take an EUA vaccine.
                                                   8
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 9 of 27




does nothing to eliminate or redress Plaintiffs’ existing injuries due to

noncompliance with the unlawful order to take an EUA vaccine. Nor will it

preclude any future injuries because the DOD has not rescinded nor altered its

policy, and due to the insufficient quantities available, the vast majority of

Plaintiffs and class members would have to take an EUA vaccine to comply with

the Mandate. Plaintiffs are entitled to a ruling on their declaratory judgment claim

with regard to these unlicensed products, and specifically to the DOD and FDA’s

legal insistence in written policy that together they have the authority to compel

the administration of unlicensed, substitute (EUA) products in place of licensed

products to military members without a Presidential waiver of informed consent.

      The DOD adopted the Pfizer Interchangeability Directive September 14,

2021, just three weeks after the DOD Mandate. See ECF 1-7. DOD repeated this

illegal policy on May 3, 2022, when it adopted the Moderna Interchangeability

Directive. See ECF 1-8. On August 31, 2022, the FDA granted an EUA for the Pfizer

and Moderna “bivalent vaccines” as booster shots for treatment of the currently

prevalent Omicron sub-variants.8 On August 16, 2022, the CDC announced that

the U.S. Government would procure 175 million doses of the bivalent vaccines for




8 In the new EUAs, the FDA continues to assert that the approved vaccines are unavailable
(i.e., “not sufficient approved vaccine available”) and further indicate that the approved
product is not adequate for treating Omicron (i.e., no approved vaccine “that contain or
encode the spike protein of the Omicron variant.” Ex. 5, Aug. 31, 2022 Pfizer Bivalent EUA
Letter, at 14 n.30; Ex. 6, Aug. 31, 2022 Moderna Bivalent EUA Letter, at 13 n.21.
                                               9
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 10 of 27




a fall/winter campaign for both “primary” series and “booster” shots. See Ex. 7,

Aug. 16, 2022 CDC Planning Guide, at 1. The discussion of using the “bivalent”

vaccines for the “primary” series indicates that the government will likely find that

the bivalent vaccines are “interchangeable” with, or may be used “as if”, they were

FDA-licensed vaccines for primary series or booster that could be mandated for

service members like Plaintiffs.9 Accordingly, the FDA and Defendants are

repeating the alleged unlawful conduct every few months, which is insufficient

time for a court to adjudicate the merits.

       C.     Plaintiffs Have Standing.

       Defendants erroneously assert that Plaintiffs lack standing as to their

claims against the FDA.10 In Children’s Health Defense Fund v. FDA, however,

the Court found that the Plaintiffs failed to show causation and redressability

from the sole defendant, the FDA, which led to the court’s decision that

plaintiffs’ injuries from the DOD Mandate resulted from “the independent

action of some third party [i.e., DOD] not before the court[.]” CHD, 2022 WL

2704554, at *3 (emphasis added). Here, all of the agencies necessary to grant



9It appears that military members can now expect to license their own immune system from
the government, with periodic updates at bureaucratic whim.
10See Opp. at 13 (citing Children’s Health Defense Fund v. FDA, 2022 WL 2704554 (6th Cir.
July 12, 2022) (“CHD”). CHD II holds that the DOD “can require vaccination regardless of
whether the vaccine is distributed pursuant to a license or EUA.” CHD II, at *4. This is
incorrect on its face – 10 U.S.C. § 1107a expressly prohibits the DOD from mandating EUA
treatments; it does not purport to address distribution. The court’s statement was driven by
the fact that DOD was not a party and is therefore necessarily dicta.
                                                10
    Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 11 of 27




Plaintiffs relief are parties to this proceeding.

      With respect to traceability and redressability, the FDA’s actions—the FDA

Interchangeability Determination and FDA Waiver, see Mot. at 10 & n.14—are the

proximate and “but for” cause of the DOD’s EUA Mandate. The DOD Mandate

permits only FDA-licensed and labeled vaccines to be mandated; without the

challenged FDA actions, which convert an unlicensed product to a licensed one,

the DOD could not have mandated EUA vaccines. An order against the FDA can

redress those injuries and stop the Mandate itself because, as shown above and in

the Coppin Declaration, the Defendants do not have Comirnaty.

      D.     Plaintiffs’ Claims Are Ripe.

      Plaintiffs here challenge an inter-related series of discrete, final, and

coordinated agency actions adopting generally applicable rules, regulations, and

policies that: (1) represent the consummation of the agency’s decision-making

process; (2) have been consistently implemented since the adoption of the DOD

Mandate through the present; (3) determine Plaintiffs’ legal rights and obligations;

and (4) are the legal basis and proximate cause for Plaintiffs’ injuries. See Mot. at

10-13 & 24-25.

      Defendants seek to conflate the fitness criteria (finality, definiteness, need

to develop factual record) with the injury analysis. The challenged agency actions

are generally applicable rules that have been directly applied to, and enforced

against, Plaintiffs, and more than 1,400 similarly-situated class members, in


                                              11
       Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 12 of 27




exactly the same way. They are now purely “legal question[s]” ripe for review that

“will foster rather than impede final resolution of this matter.” State of La. v. Dept.

of Energy, 507 F.Supp.1365, 1374 (W.D. La. 1981). The court need not await

completion of individual administrative proceedings, which are not challenged, to

rule on the Plaintiffs’ claims.

          Plaintiffs’ past and ongoing injuries easily satisfy the hardship prong. See

Mot., ¶ 12 (summarizing Plaintiff injuries), and Section II.E. infra. Plaintiffs face

the imminent threats of separation proceedings, discharge, forced retirement, or

placement on the ISL (Inactive Status List). Defendants have not agreed to pause

these proceedings while this matter is briefed by the Court and will discharge one

of the named Plaintiffs if relief is not granted. If the PI Motion is denied, all

remaining Plaintiffs will be discharged as well.

          E.      Bazzrea’s and Cheatum’s Claims Are Not Moot.

          Bazzrea’s and Cheatum’s claims have not been mooted by having been

compelled to receive the shots under duress over their strong and sincerely held

religious objections. See Compl., ¶¶ 13 (Bazzrea) & 19 (Cheatum). Indeed, Bazzrea

and Cheatum’s claims are the strongest of all: both have genuine religious

objections to these shots, but because of the Defendants unrelenting and illegal

pressure, they both finally succumbed and violated their own consciences.11 The




11   See, e.g., Ex. 8, Suppl. Decl. of Master Chief Bazzrea.
                                                     12
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 13 of 27




government somehow concludes that its illegal and coercive arm-twisting provides

a legal windfall – woe betide the victim who capitulates! Defendants knowingly,

willfully, and repeatedly violate every Plaintiffs’ RFRA rights.

       The Defendants inter alia threatened all of the Plaintiffs’ promotion/rank,

current and future pay (retirement), immediate and future health insurance for

themselves and their families, loss of earned benefits (such as GI Bill), recoupment

of any enlistment bonuses, simultaneously deprived them of their liberty, freedom

of movement, etc., made them (alone) wear masks on base to visually identify them

to everyone on base as ‘unclean’ and non-conforming (in addition to incidentally

revealing their personal medical information to the public), and now argue to the

Court that if a Plaintiff should finally succumb to all of these illegal and coercive

tactics that the Equity power of this court demands this result in a legal benefit to

the perpetrator? The Court will search in vain for any historical antecedent in

Anglo-American equity jurisprudence to command such a result. Defendants’

argument also completely misapprehends the nature of First Amendment claims.

           A religious objector suffers a loss of religious exercise when
           government puts [the objector] to this choice: violate a
           sincerely held religious belief or face serious disciplinary
           action. In other words, a RFRA objector’s claim ripens — and
           subjects the RFRA objector to irreparable harm — upon the
           threat of serious discipline, not upon the realization of the
           threat.12


12CFMO, at *42, (citations omitted). See also, Steffel v. Thompson, 415 U.S. 452, 459 (“[I]t is
not necessary that petitioner first expose himself to actual arrest or prosecution to be entitled
to challenge a statute that he claims deters the exercise of his constitutional rights.”)
                                                  13
      Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 14 of 27




III.     PLAINTIFFS HAVE A SUBSTANTIAL LIKELIHOOD OF SUCCESS.

         A. Plaintiffs Will Prevail on RFRA and Free Exercise Claims.
                1.     Defendants Have Systematically Denied RARs.

         The information publicly available when the Complaint was filed indicated

that zero RARs had been granted by the Coast Guard. See Compl., ¶ 61 & Table 1.

Defendants have provided current data, showing that 12 RARs and RAR appeals

have been granted out of 1,343 RARs submitted, see ECF 22-8, Ex. A, or just under

one percent (1%). Plaintiffs maintain that the real number of RARs remains zero.

Several other courts reviewing other Services’ RFRA policies have found that the

RARs granted by other services are in fact administrative exemptions for those in

the final months of service.13 Defendants have not attempted to dispute this claim.

The unrebutted evidence before this Court is that the USCG has granted zero RARs.

         Even if these 12 approved RAR were valid RARs, rather than disguised

administrative exemptions, sub-1% approval rates are more than sufficient to

demonstrate “systemic” RFRA violations and to grant Service-wide injunctions like

that sought by Plaintiffs here. “[I]t is hard to imagine a more consistent display of

discrimination.”14 Moreover, Defendants have done so using the same form letters



13See, e.g., CFMO, at *1 (RARs granted only to those “who are due for retirement and prompt
separation”); Navy SEAL 1 v. Austin, 2022 WL 534459, at *19 (M.D. Fla. Feb. 18, 2022)
(“MDFL Navy SEAL 1”) (same); Poffenbarger v. Kendall, 2022 WL 594810, at *13 n.6 (S.D.
Oh. Feb. 28, 2022) (“Poffenbarger”) (same for Air Force).
14   Navy SEALs 1-26 v. Austin, 2022 WL 1025144, at *5 (N.D. Tex. Mar. 28, 2022) (granting
                                              14
      Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 15 of 27




that change only the name and the description of the service members’ role, see

Compl., ¶¶ 89-90, that courts have found to be definitive proof that the Service

failed to provide the individualized determination required by RFRA, DODI

1300.17, and the applicable service regulation (here COMDTINST 1000.15).15

Finally, a Navy Chaplain currently assigned to the Coast Guard is a plaintiff in a

separate federal action (Alvarado v. Austin) and filed a declaration included here

that provides clear and irrefutable evidence of the religious hostility and sham RAR

process by Defendant Coast Guard.16

                2.     Defendants Discriminate Against Religious Exercise.

         Defendants’ assertion that religious accommodations are somehow

qualitatively different from, and therefore not comparable to, secular medical and

administrative exemptions are without merit. See Opp. at 27-28. All exemptions

are temporary and time-limited.17 Further, all COVID-19 vaccine accommodations




class-wide PI for Navy); Doster v. Kendall, 2022 WL 2760455, at *4 (S.D. Ohio July 14, 2022)
(same for Air Force for <1% approval rate); CFMO, 2022 WL 3643512, at *3 (same for Marine
Corps).
15See, e.g., CFMO, at *3-4 (describing and quoting Marine Corps form letter for class
certification); Doster, at *6 (same for Air Force); Navy SEALs 1-26, at *7 (same for Navy).
16   See Ex. 9 (Navy Chaplain LT Justin Brown Suppl. Decl.).
17See, e.g., ECF 1-4, DOD Instruction 1300.17, Religious Liberty in the Military Services,
¶ 3.2.g.1 (Sept. 1, 2020) (“an approved accommodation may be subject to review and
recission, in whole or in part, at any time” based on change in circumstances); ECF 1-13,
COMDTINST 1000.15, ¶ 11.c.8.a (“An approved accommodation may be subject to review and
rescission, in whole or in part, at any time, based upon a determination that the circumstances
under which the grant of accommodation was approved have changed …”).
                                                 15
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 16 of 27




are vaccine-specific.18

       Plaintiffs have in the past stated that they would be willing to take FDA-

approved vaccines to which they do not have religious objections.19 This, however,

does nothing to change the viability of their claims and the claims they assert on

behalf of the class. Defendants’ have created an impossibly skinny strawman by

narrowing complex theological objections to these shots down to “aborted fetal cell

tissue” and then claiming to offer a shot that allegedly doesn’t have those defects.

As it turns out, Novavax used aborted fetal cells (from cell-line HEK-293) for

comparison testing of its insect-protein derived vaccine.20 Regardless, Plaintiff

Wadsworth’s own words reveal the inadequacy of the government’s claim to be

able to out-reason religious objections to its mandate.

       Finally, Defendants assert that the same restrictions apply to the

unvaccinated whether for secular or religious reasons, see Opp. at 28. Defendants



18A medical exemption from the currently FDA-approved vaccines does not exempt a service
member from other vaccination requirements. Medical exemptions are available, among
other things, to service members who have medical conditions (or contraindications) or
severe allergic reactions that are contraindicated for the current vaccines. See Opp. at 28 &
n.25.
19See Compl., ¶ 86. Plaintiffs Wadsworth and Wilder initially considered taking Novavax—an
EUA vaccine that cannot be mandated—because they had believed it was not developed using
aborted fetal cells and was therefore consistent with their religious beliefs. See Opp. at 22;
ECF 22-10, Wilder RAR Package, at 22; ECF 22-11, Wadsworth RAR Package, at 564.
Wadsworth subsequently discovered through further research that Novavax was in fact
developed using aborted fetal cells. See Ex. 10, Wadsworth Supp. Decl., ¶ 16. Wadsworth also
notes that after “earnest prayer, hours of intense research” he will continue abstaining from
vaccination with Novavax or other currently available COVID-19 vaccines.
20 See, e.g., Sarah Quayle, “Yes, Novavax Used HEK293, An Aborted Fetal Cell Line,” available

here: https://tinyurl.com/mvcshxpy
                                                 16
   Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 17 of 27




fail to acknowledge that only those seeking religious accommodation are being

systematically discharged, singled-out for calumny, etc., while those with medical

exemptions are not. Plaintiffs have alleged that Defendants have violated Plaintiffs’

free exercise rights by granting more favorable treatment of comparable secular

activities than for religious exercise by the Services collectively granting over 100

times as many secular exemptions as religious accommodations (even assuming

counterfactually that they are not disguised administrative exemptions). See Mot.

at 25-27 & Table. The Defendants have failed to respond to these allegations and

state that the number of secular exemptions is “UNKNOWN” (except for

permanent medical exemptions). ECF 22-5, Ex. A. Defendants’ choice not to

provide this information does not rebut Plaintiffs’ allegations, and in the absence

of a contrary response, this Court should presume that the pattern of religious vs.

secular exemptions for the Coast Guard is consistent with the ratio for the other 3

military service branches so far enjoined.

             3.    The Court Need Not Defer to Defendants’ Purpose.

      Having met the burden of showing that Defendants have substantially

burdened Plaintiffs’ free exercise of religion, the burden shifts to Defendants to

demonstrate that their policies satisfy strict scrutiny. See O Centro Espirita

Beneficiente Uniao do Vegetal, 546 U.S. 418, 429 (2006). For Free Exercise claims,

courts look “beyond facial discrimination,” Church of the Lukumi Babalu Aye, Inc.

v. City of Hialeah, 508 U.S. 520, 534 (1993) (citations omitted), and the


                                             17
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 18 of 27




government’s stated purpose to consider the actual purpose and effects. Id. at 535

(“[T]he effect of a law in its real operation is strong evidence of its object.”).

       Defendants’ Categorical RAR ban cannot stand, even if the asserted purpose

is taken at face value. As explained in the PI Motion, the military stands to lose

tens and perhaps hundreds of thousands, see Mot., ¶ 8, and the Coast Guard over

1,300, see ECF 22-5, Ex. A (1,343 RAR submitted with 12 supposedly granted), by

mandating a vaccine (1) that cannot further its stated purpose (2) to protect against

a disease that has not killed a single active-duty service member (whether

vaccinated or not) since November 2021. See ECF 22-2, Rans Decl., at 12-13.

       Defendants have also justified their policy based on the asserted need for

Coast Guard members must be “worldwide deployable,” Opp. at 28 n.26, despite

the fact that Plaintiffs and most similarly-situated class members deploy only in

the United States or its coastal waters, or not at all. This Court must reject this

circular reasoning to justify religious discrimination by claiming that violations are

instead based on independent and objective requirements.21




21See, e.g., CFMO, at *17 (Defendants “cannot evade RFRA by defining the conditions of
service to exclude the possibility of an accommodation. This definitional sleight of hand
evades the inquiry that RFRA demands: whether the Marine Corps’ generalized interest in
worldwide deployability is materially impaired by tolerating a few religious objectors and
accommodating their continued service to the Marine Corps despite the generalized policy of
worldwide deployability.”); Harrison v. Austin, 2022 WL 1183767, at *19 (E.D. Va. Apr. 6,
2022) (“Harrison”) (rejecting same circular reasoning for limiting HIV positive service
members based on “the only bar to their deployment was [the military’s] own regulations,
which restrict deployability based on HIV alone.”).
                                               18
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 19 of 27




              4.     The Court Must Consider the Compelling Interest in
                     Retaining Service Members Who Wish to Serve.

       The Court can and must consider more than one “compelling purpose” in

evaluating the military’s justification, especially when there is strong evidence that

the asserted justification is not the actual one motivating the policy. The United

States and its citizens have invested trillions of dollars in our service members to

provide for our national defense. The military has a compelling purpose in

retaining trained, experienced, willing, patriotic service members, and to consider

the other side of the ledger in imposing its policy. The military routinely asserts its

interest in retaining trained and experienced service members to justify its

policies.22 CFMO, at *17. Even if Defendants’ here give this interest no weight, the

Court must consider the compelling governmental interest in retention of

experienced veterans who wish to continue to serve and the larger interest of U.S.

citizens who rely on them for their defense.

              5.     “Gratuitous Restrictions” Show Hostility to Religion.

       Defendants have long imposed arbitrary and punitive restrictions on those

seeking religious accommodations. See Mot., ¶ 12. Such discrimination is based on

obsolete science and contrary to CDC guidance to no longer discriminate based on

vaccination status, see ECF 17-6, Aug. 11, 2022 CDC Guidance. “It is not




22 See, e.g., Harrison, at *17 (describing DOD interest in retention as one where the military
is “incline[d] decidedly toward allow[ing] the member to continue to perform those duties
and return the investment the [military] has made in the member.”).
                                                 19
   Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 20 of 27




unreasonable to infer … that a law which visits ‘gratuitous restrictions’ on religious

conduct seeks … seeks not to effectuate the stated government interests, but to

suppress the conduct because of its religious motivation.” Church of Lukumi

Babalu, 508 U.S. at 538 (citation and quotation marks omitted).

      B. Plaintiffs Will Prevail on Substantive Due Process Claims
      Courts do not defer to an agency that has exceeded its statutory authority

and/or violated federal statutes or its own regulations in an “attempt to usurp

major policy decisions properly made by Congress,” NLRB v South Cent. Bell

Telephone Co., 688 F.2d 345, 351 (5th Cir. 1982), or States. Instead, courts review

the agency’s legal interpretation of the governing statute because such actions are

not matters “peculiarly within the agency’s expertise and discretion.” Crowley

Caribbean Transp., Inc. v. Pena, 37 F.3d 671, 677 (D.C. Cir. 1994).

      The level of scrutiny is determined by whether the mandated products are

treatments, subject to strict or heightened scrutiny, or vaccines and arguably

subject to rational basis review under Jacobson v. Massachusetts, 197 U.S. 11

(1905). Defendants have failed altogether to respond to Plaintiffs’ demonstration

that the products are not vaccines under Defendants’ own regulations, or as that

term was understood by the Jacobson court. See Mot. at 30-31 & ECF 17-1, DOD

6205.02. Plaintiffs should be deemed to have carried their burden of proof on these

unrebutted claims, which should conclusively yield a ruling in Plaintiffs’ favor.

      In Section I and Exhibit 1, Plaintiffs demonstrate that Defendants have not


                                             20
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 21 of 27




provided any relevant evidence that bears on the questions before this Court.

Defendants’ legal interpretation cannot survive even rational basis review once the

deference is stripped away. For such major policy decisions, courts apply a more

searching, and non-deferential, version of rational basis review in which they

independently weigh the evidence and assess whether the action furthers the

asserted policy or is instead an improper pretext.23

       Additionally, Plaintiffs have demonstrated that the stated purposes of

“military readiness” and “health and welfare” are pretexts for improper and

unlawful motives like religious discrimination, and that Secretary Austin’s actions

are arbitrary and capricious in violation of the APA. See Compl., ¶¶ 170-183; Mot.

at 41-43. The evidence provided here, and in the preceding section, see supra

Section III.A, shows that the DOD Mandate and other challenged actions have no

rational basis and have precisely the opposite effect of the stated purpose as the

“(non)cure” has already killed more service members than the disease it is

supposed to treat. Rather than promoting military readiness, continued mandating

of these “vaccines” will destroy it, resulting in the loss of hundreds of thousands

of service members and threatening the viability of the All-Volunteer Force.

       Plaintiffs “argue that the intra-service processes … are insufficient as a

matter of due process.” Opp. at 37. Plaintiffs addressed at length the sham RAR



 See, e.g., Harrison, 2022 WL 1183767, at *12-14 (weighing scientific evidence in finding
23

DOD HIV deployment policy failed rational basis review).
                                              21
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 22 of 27




process that amounts to little more than theater with a pre-determined outcome.

See Compl., ¶ 156 & Mot. at 17-18 (futility of RAR process). The subsequent

processes like the BCMR are equally futile and in any case are not empowered to

set aside a Service regulation, particularly where relief would require the Service

Secretary himself to determine that his own policy is an “error” or “injustice.” See

Mot. at 18. Contrary to Defendants’ erroneous assertion, Opp. at 36, Plaintiffs have

identified the protected life, liberty, and property interests, as well as fundamental

First Amendment rights, of which they already have been deprived by the

Defendants’ actions throughout the RAR charade. See Compl., ¶¶ 154-157 & Mot.

at 34.

         C. Plaintiffs Will Prevail on Informed Consent and APA Claims.
         Defendants dismiss Plaintiffs’ APA and statutory claims regarding violations

of 10 U.S.C. § 1107a because they claim: (1) Defendants are not in fact mandating

EUA products, Opp. at 40; and (2) the statute merely imposes a “notification

requirement,”24 i.e., a right to receive a package insert informing them of their

statutory right to accept or refuse the EUA product, but that it does not actually

grant a statutory right to refuse an EUA product. Plaintiffs addressed the first



24 Opp. at 40. Defendants also argue that Plaintiffs have “no private right of action” against
the FDA for violations of 21 U.S.C. § 360bbb-3. Opp. a 41 (citing Navy SEAL 1 v. Biden, 574
F.Supp.3d 1124, 1130 (M.D. Fla. 2021) (“MDFL Navy SEAL 1”). Plaintiffs’ right of action is
provided by the APA, i.e., they were harmed by the FDA’s violations of their statutory rights,
which provides a right of action for those harmed by agency action and do not have an express
right of action under the statute violated. See 5 U.S.C. §§ 702, 704, 706(2)(C). The plaintiffs
in the MDFL Navy SEAL 1 case did not assert APA claims.
                                                 22
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 23 of 27




point—that Defendants have mandated EUA products—above in Section II.B.

Plaintiffs and other class members have disciplined threatened with discharge for

their refusal to take an EUA product, when it is undisputed that Defendants lacked

an FDA-licensed product.

       More importantly, however, from 2005 until July 2021, DOD and FDA held

the position that EUA vaccines had to be voluntary. See 70 Fed Reg. 5452, 5455

(Feb.2, 2005) See also 2005 consent decree in Doe v. Rumsfeld, 2005 WL 774857

(D.D.C. Feb. 6, 2005) (“Rumsfeld III”), revising the Anthrax Vaccine

Immunization Program to give personnel the option to refuse vaccination by

prohibiting punishment for refusal of the vaccine.

          Refusal may not be grounds for any disciplinary action under
          the Uniform Code of Military Justice. Refusal may not be
          grounds for any adverse personnel action. Nor would either
          military or civilian personnel be considered non-deployable or
          processed for separation based on refusal of anthrax
          vaccination. There may be no penalty or loss of entitlement for
          refusing anthrax vaccination.

Optionality remained the DOD’s consistent position until at least July 2021.25

Defendants are estopped by the consent order in Rumsfeld III from arguing a

contrary position, at least for those Plaintiffs and class members covered by that




25Defendants’ current interpretation of 10 U.S.C. § 1107a was first articulated in the July 6,
2021 Office of Legal Counsel Memorandum. See ECF 17-18 at 16-18. There, the DOD indicated
that it “has understood section 1107a to mean that DOD may not require service members to
take an EUA product,” as reflected in DOD regulations. See Ex. 11 DOD Instruction 6200.02,
§ E3.4 (Feb. 27, 2008) (under the EUA statute, “potential recipients are provided an option
to refuse administration,” but “the President may . . . waive the option to refuse”).
                                                 23
      Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 24 of 27




injunction.

        Accordingly, Defendants’ actions are an “unexplained departure” from

decades-long “prior policy.” Opp. at 38 (quoting Mot. at 42). The agencies

“established practices” on informed consent are due greater deference than

sudden, unexplained reversals because the long-standing and consistent refusal to

exercise a claimed power (i.e., to mandate an EUA product) is “significant in

determining whether such a power was actually conferred.” W. Va. v. EPA, 142 S.

Ct. 2587, 2610 (2022) (citation and quotation marks omitted).

IV.     PLAINTIFFS HAVE SUFFERED IRREPARABLE HARM.

        Defendants contend that Plaintiffs cannot show that they will be irreparably

harmed absent preliminary relief because Plaintiffs have failed to show that

Defendants’ actions “imminently threaten” to violate their rights, Opp. at 42; that

a discharge alone cannot constitute irreparable harm, id. at 43; and that

Defendants are not “forcing” Plaintiffs to be vaccinated. Id. at 44.

        “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Roman Cath. Diocese of Brooklyn

v. Cuomo, 141 S. Ct. 63, 67, 208 L.Ed.2d 206 (2020); Opulent Life Church v. City

of Holly Springs, 697 F.3d 279, 295 (5th Cir. 2012) (“This principle applies with

equal force to the violation of RLUIPA rights because RLUIPA enforces First

Amendment freedoms[.]”); Holt v. Hobbs, 574 U.S. 352, 357–58 (2015) (extending

this principle to RFRA). As noted supra, II.E. p. 13, the religious objector suffers a


                                             24
     Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 25 of 27




loss of free exercise when government “puts [the objector] to this choice.” Holt,

574 U.S. at 361. Plaintiffs have shown in the preceding section that Defendant

violations of First Amendment rights, as enforced through RFRA, are systemic and

that they have already suffered the harms – and continue to do so – from these

violations. See supra Section II.A.

       In the PI Motion, Plaintiffs explained why a general discharge can also

constitute irreparable injury under Sampson v. Murray, 415 U.S. 61 (1974), see

Mot. at 43-44, where they are “discharge[d] without an individualized assessment

of their fitness for continued service and for reasons unrelated to their ability to

service,” coupled with a discharge with a misconduct characterization that they will

have to disclose along with their unvaccinated status, injuries that cannot be

“address[ed] … through post-discharge intra-service procedures.” Roe v. DOD, 947

F.3d 207, 218 (4th Cir. 2020). Defendants have not refuted these arguments or

shown that Plaintiffs are not facing imminent discharge.

V.     BALANCE OF EQUITIES AND PUBLIC INTEREST FAVOR
       GRANTING PRELIMINARY INJUNCTION.

       Plaintiffs simply ask that this Court perform its assigned role, and duty, to

interpret and enforce constitutional rights and “to determine whether those rights

have been violated.” Emory, 819 F.2d at 294. Here, there is no conflict between the

public’s “exceptionally strong interest in national defense,” Opp. at 38, and

Plaintiffs’ constitutional rights. The most effective way to promote the public

interest generally and the specific interest in strong national security is to enforce
                                             25
      Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 26 of 27




Plaintiffs Constitutionally protected liberties by ceasing Defendants’ systematic

violations of constitutional rights that threaten national security. Defendants’

imposition and enforcement of an unlawful vaccine mandate threatens to purge

hundreds of thousands of service members, is destroying recruitment, and even

threatens the viability of the AVF. See Mot., ¶ 8.

VI.     CONCLUSION

        This Court should grant the relief requested in the previously submitted

Proposed Order.



Dated: September 6, 2022

                                       Respectfully submitted,

                                       /s/ Dale Saran
                                       Dale Saran, Esq.
                                       MA Bar #654781
                                       19744 W 116th Terrace
                                       Olathe, KS 66061
                                       Telephone: 480-466-0369
                                       Email: dalesaran@gmail.com

                                       /s/ Travis Miller____
                                       Travis Miller
                                       Texas Bar #24072952
                                       /s/ Brandon Johnson
                                       Brandon Johnson, Esq.
                                       DC Bar No. 491370
                                       Defending the Republic
                                       2911 Turtle Creek Blvd.,
                                       Suite 300 Dallas, TX 75219
                                       Tel. 214-707-1775
                                       Email: bcj@defendingtherepublic.org


                                             26
   Case 3:22-cv-00265 Document 25 Filed on 09/06/22 in TXSD Page 27 of 27




                                     /s/ Simon Peter Serrano
                                     S. Peter Serrano, Esq.
                                     WA Bar #54769
                                     5238 Outlet Dr.
                                     Pasco, WA 99301
                                     Telephone: 530-906-9666
                                     Email: pete@silentmajorityfoundation.org

                                     Attorneys for the Plaintiffs

                        CERTIFICATE OF SERVICE

      This is to certify that on this 6th day of September, 2022 the foregoing

Plaintiffs’ Reply Brief was e-filed using the CM/ECF system.

                                     Respectfully Submitted,
                                     /s/ Brandon Johnson
                                     Brandon Johnson




                                          27
